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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        ROHINI KUMAR,
                                   7                                                      Case No. 14-cv-02411-YGR
                                                      Plaintiff,
                                   8                                                      ORDER DENYING MOTION FOR RELIEF
                                                v.                                        FROM NON-DISPOSITIVE PRE-TRIAL
                                   9                                                      ORDER OF MAGISTRATE JUDGE
                                        SALOV NORTH AMERICA CORP,
                                  10                                                      Re: Dkt. No. 35
                                                      Defendant.
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                                  12          On October 14, 2014, Plaintiff Rohini Kumar filed his Motion for Relief from Non-
Northern District of California
 United States District Court




                                  13   Dispositive Pre-Trial Order of Magistrate Judge Nathanael M. Cousins (“Motion for Relief”),

                                  14   specifically Magistrate Judge Cousins’ Order Granting Defendant’s Request for Temporary Stay

                                  15   of Discovery (Dkt. No. 31). The Court, having carefully reviewed Plaintiff’s Motion for Relief

                                  16   and documents submitted in support thereof, as well as the underlying Order of Magistrate Judge

                                  17   Cousins, DENIES the Motion for Relief.

                                  18          A non-dispositive order of a magistrate judge is reviewed by the District Court under the

                                  19   clearly erroneous or contrary to law standard. See Fed. R. Civ. P. 72(a); 28 U.S.C. § 636(b)(1)(A).

                                  20   Plaintiff has not demonstrated that the Order Granting Defendant’s Request for Temporary Stay of

                                  21   Discovery issued by Magistrate Judge Cousins is clearly erroneous or contrary to law. The Court

                                  22   has not yet ruled on Defendant’s motion to dismiss, which the Court took under submission on

                                  23   September 30, 2014.

                                  24          IT IS SO ORDERED.

                                  25   Dated: October 21, 2014

                                  26                                                  ______________________________________
                                                                                             YVONNE GONZALEZ ROGERS
                                  27                                                       UNITED STATES DISTRICT COURT
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